Case 8:21-cv-00439-SDM-TGW Document1-6 Filed 02/24/21 Page 1 of 12 PagelD 100

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
VIRAL STYLE, LLC,

Plaintiff,
Vv. Case No.

IRON MAIDEN HOLDINGS LTD.
and AM SULLIVAN LAW, LLC,

Defendants.
j

EXHIBIT E
TO

COMPLAINT
Case 8:21-cv-00439-SDM-TGW Document 1-6 Filed 02/24/21 Page 2 of 12 PagelD 101

Subject: RE: Iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal Disruption to Viral Style
L.L.C. - Our Reference No. 456044

Attachments: imane03 pre.
image004.pog

 

From: AM Sullivan Law, LLC

Sent: Friday, October 2, 2020 12:59 PM

To: 'William Brees' <wbrees@maxeyfisher.com>; Ann Marie Sullivan <ams@amsullivaniaw.com>
Cc: ‘Brittany Maxey-Fisher’ <bmaxeyfisher@maxeyfisher.com>; 'lpg@maxeyfisher.com'
<Ipg@maxeyfisher.coms>; ‘filecopy' <filecopy@maxeyfisher.com>; ‘Haviland Kebler'
<hkebler@maxeyfisher.com>

Subject: RE: Iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal
Disruption to Viral Style L.L.C. - Our Reference No. 456044

Good Afternoon, Bill —
Please find attached the file-stamped dismissal for your client, Viral Style.

Please let us know if/when you would like to continue the below discussion regarding the restrained
account.

Best,
Alison

Alison K. Carter, Esq.
Intellectual Property Attorney

AM SULLIVAN Law, LLC
+1 224.258.9378

1440 W. Taylor St. #515
Chicago, Illinois 60607
ww AMSullivanLaw.com

From: AM Sullivan Law, LLC

Sent: Thursday, October 1, 2020 4:00 PM

To: William Brees <wbrees@maxeylisher.com>; Ann Marie Sullivan <ams@amsullivanlaw.com>
Cc: Brittany Maxey-Fisher <bmaxeyfisher@maxeytisher.com>; lpp@maxeylisher.com; filecopy
<filecopy@ maxeyfisher.com>; Haviland Kebler <hkebler@maxe
Subject: RE: Iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal
Disruption to Viral Style L.L.C. - Our Reference No. 456044

Importance: High

fisher.com>

   

Hi Bill,
We just spoke with PayPal and authorized the release of the account with the caveat that they withhold

$200,000 to protect our clients’ interests.

We understand that Viral Style acts as a marketplace of sorts to third party sellers and all transactions go
through this one account. We thought this would be a mutually beneficial resolution — immediately
addressing your client’s needs while still addressing and protecting ours.
Case 8:21-cv-00439-SDM-TGW Document 1-6 Filed 02/24/21 Page 3 of 12 PagelD 102

If you feel differently, and/or you would like to discuss this further, please let us know and we can set up a
call.

We appreciate your patience with this as it is somewhat of an uncommon situation.

Best,
Alison

Alison K, Carter, Esq.
Intellectual Property Attorney

AM Suwtuiivan Law, LLC
+1 224.258.9378

1440 W. Taylor St. #515
Chicago, Illinois 60607

wiv ¥

     

        

From: AM Sullivan Law, LLC
Sent: Thursday, October 1, 2020 3:02 PM
To: 'William Brees' <wbrees@maxeytisher.com>; Ann Marie Sullivan <ams@amsullivaniaw.com>

 

 

Cc: Brittany Maxey-Fisher <bmaxeylisher@maxeyfisher.com>; |pg@maxeylisher.com: filecopy
<filecopy@maxeyfisher. com>; Haviland Kebler <hkebler@ maxevfisher.com>

Subject: RE: iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal
Disruption to Viral Style L.L.C. - Our Reference No. 456044

Bill —

I think, perhaps, you are misunderstanding. We will file a dismissal as to your client today, but the PayPal
account is still restrained as to BEATTEE and 89ARTSHIRT based on the subpoena response from
PayPal, which states that those stores also use this PayPal account. The account will not be released so
long as those defendants remain parties in this case.

We are not holding anything hostage, nor would we use anything as leverage for settlement. If this PayPal
account was only associated with your client, we would absolutely release it no questions asked, but that’s
simply not the case.

We would like to, first, get everything resolved as to this matter, and then we can send over evidence and
specifics of the allegations against your client; that’s not a problem. However, it is likely given the history
of communication from my client to yours that they are well aware of their infringement.

Please let me know if this needs further clarification. If your client wants to send our contact information
over to the operators of BEATTEE and 89ARTSHIRT, we would be happy to discuss this with them as
well.

Best,
Alison

Alison K. Carter, Esq.
Intellectual Property Attorney

AM SuLiivan Law, LLC
Case 8:21-cv-00439-SDM-TGW Document 1-6 Filed 02/24/21 Page 4 of 12 PagelD 103

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Chicago, Illinois 60607
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From: William Brees <wbrees@maxeyfisher.com>
Sent: Thursday, October 1, 2020 12:34 PM
To: AM Sullivan Law, LLC <attorney@amsullivanlaw.com>; Ann Marie Sullivan

<ams(@amsullivanlaw.com>

Cc: Brittany Maxey-Fisher <b viisher@ vfishe >; lpg @maxeylisher.com; filecopy
<tilecopy@maxeylisher,com>; Haviland Kebler <hkebler@maxeyfisher.com>

Subject: Re: Iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal
Disruption to Viral Style L.L.C. - Our Reference No. 456044

Hello Alison,

The most important matter for our client right now is to have the restrictions on the Paypal
account lifted as the account is tied to the entirety of its business that is conducted through
Paypal, an extremely small percentage of which, if any, has any connection to the alleged
infringement. We were very concerned yesterday that the restriction on the account was
going to be maintained as improper leverage for a settlement payment. Please provide
proof of the removal of this restriction as soon as possible today as the restriction places
Viral Style's business relationships with its campaign owners in jeopardy. They are at grave
risk of losing a large amount of legitimate business due to this restriction.

Our clients are open to discussing settlement regarding the allegations, but cannot do so
without knowing the details of the allegations. We have received no cease and desist letter
or complaint that would inform Viral Style of the allegations being made. Without knowing
the allegations, Viral Style is unable to investigate the allegations being made to even come
to a position regarding this matter, let alone discuss specific settlement offers. If you could
send us a listing of specific campaigns or listings that you allege were or are infringing, Viral
Style will be able to investigate the dates, campaign owner, and any potential sales for
those campaigns. After this evaluation is completed we would be glad to discuss
settlement.

Best Regards,
Bill

William R. Brees
Senior Intellectual Property Attorney
Case 8:21-cv-00439-SDM-TGW Document1-6 Filed 02/24/21 Page 5 of 12 PagelD 104

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From: AM Sullivan Law, LLC <;
Sent: Thursday, October 1, 2020 11:24 AM

To: William Brees <wbrees@maxeylisher.com>; Ann Marie Sullivan <ams@amsullivanlaw.com>
Cc: Brittany Maxey-Fisher <bmaxeyfisher@maxeyfisher.com>; lpz@maxeyfisher.com
<lpe@maxevtisher. com>: filecopy <filecopy@maxeyfisher.com>; Haviland Kebler
<hkebler@maxevfishe >

Subject: RE: Iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal
Disruption to Viral Style L.L.C. - Our Reference No. 456044

 

Hi Bill,

We appreciate your position; however, in response to our subpoena, PayPal provided an account number
for BEATTEE and 89ARTSHIRT, and that account number is the same as the one provided for Viral Style.
Specifically, we made purchases from both stares, and PayPal shows those transactions as coming from
this account number (and also shows 89ARTSHIRT as having an email address of bc@viralstyle.com).

That being said, we agree that the restraint as to your client needs to be released, and we will get your
client dismissed, but given the information provided by PayPal, the restraint of this account as to the
other two stores will remain.

Also, we have had communications with your client in the past regarding their infringement of the Iron
Maiden trademarks, which includes not just the evidence involved in this case, but purchases made from
your client’s store as well as evidence of advertising/marketing of infringing products. The Iron Maiden
trademarks are registered, your client has had clear notice, and, yet, the infringement continues. If your
client does not want to settle this matter out of Court, please be aware that we will be moving forward
with a lawsuit naming Viral Style as the sole defendant.

Best,
Alison

Alison K. Carter, Esq.
Intellectual Property Attorney

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Case 8:21-cv-00439-SDM-TGW Document 1-6 Filed 02/24/21 Page 6 of 12 PagelD 105

1440 W. Taylor St. #515
Chicago, Illinois 60607

www AM sSulliv Woco

From: William Brees <wbrees@ 2yfisher. com>

Sent: Wednesday, September 30, 2020 5:16 PM

To: Ann Marie Sullivan <ams@amsullivanlaw.com>; AM Sullivan Law, LLC
<attorney@amsullivanilaw.com>

Cc: Brittany Maxey-Fisher <br 1>; lpg @maxeyfisher.com; filecopy
<lilecopy@maxeyfisher.com>; Haviland Kebler <hkebler@maxeyfisher.com>

Subject: Re: Iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal
Disruption to Viral Style L.L.C. - Our Reference No. 456044

 

Hello,

| spoke with our client and received confirmation that these two parties, “BEATTEE” and
“89ARTSHIRT”, do not share a paypal account with Viral Style. The account is only a
business account for Viral Style. While “BEATTEE” and “89 ARTSHIRT” are campaign
owners that place sales listings on Viral Style's website, they do not have any access or
interest in any financial accounts owned by Viral Style. The intrusion on Viral Style's Paypal
account is improper, has no legal basis, and must be removed immediately.

Best Regards,
Bill
William R. Brees

Senior Intellectual Property Attorney
wbrees@maxeyfisher.com

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Case 8:21-cv-00439-SDM-TGW Document 1-6 Filed 02/24/21 Page 7 of 12 PagelD 106

From: William Brees <wbrees@maxeyfisher.com>
Sent: Wednesday, September 30, 2020 5:51 PM
To: Ann Marie Sullivan <ams@amsullivanlaw.com>; AM Sullivan Law, LLC

<attorney@amsullivanlaw.com>

 

Ce: Brittany Maxey-Fisher <bmaxeylisher@maxeyfisher.com>; Ipp@maxeyfisher.com

<lpg@maxeyfisher.com>; filecopy <filecony@maxeyfisher.com>; Haviland Kebler

Subject: Re: lron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal
Disruption to Viral Style L.L.C. - Our Reference No. 456044

Hello Ann Marie,

| have reached out to our client regarding the allegation that they share a PayPal account
with two defendants in your case, “BEATTEE” and “89ARTSHIRT.”

At this point, we have seen no allegations regarding any actions by Viral Style that would
form the basis for any claims of infringement against Viral Style. If you are making these
allegations and requesting settlement, please provide the basis for your allegations and the
calculation of your alleged damages resulting in a request of a payment of $35,000 for
settlement of whatever claims are being made.

Best Regards,
Bill
William R. Brees

Senior Intellectual Property Attorney
wbrees@maxeyfisher.com

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communication in error and then delete it. Thank you.

From: Ann Marie Sullivan <ams@amsullivanlaw.com>

Sent: Wednesday, September 30, 2020 5:34 PM

To: William Brees <whrees@maxeylisher.com>; AM Sullivan Law, LLC
<attornev@amsullivaniaw.com>

Cc: Brittany Maxey-Fisher <bmaxeylisher@maxeyfisher.com>: lpe@maxevfisher.com
<lpg@maxeylisher.com>; filecopy <filecoov@maxeylisher.com>; Haviland Kebler

<hkebler@maxeyfisher.com>
Subject: RE: Iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal

Disruption to Viral Style L.L.C. - Our Reference No. 456044

Dear Bill,

We reviewed the evidence we have in this case; and, it appears as though you are right
insofar as Viral Style has been brought into this case in error. However, we do see that there
is a still a valid basis to pursue a trademark infringement claim against Viral Style, based on
the infringing goods sold by your client, bearing and infringing upon the registered
trademarks of Iron Maiden.

While we will agree to dismiss you from the current case, it is still our position that we need
to enforce the intellectual property rights of Iron Maiden. As such, Viral Style can expect a
secondary lawsuit, naming just them, and brought under the proper jurisdictional
requirements for a U.S.-based seller. That being said, we believe it is in the best interests of
both parties to avoid extensive litigation, and believe that we can reach a settlement
agreement, avoiding the need for a secondary lawsuit against Viral Style.

Additionally, our records indicate that Viral Style shares a PayPal account with two other
defendants in our case, “BEATTEE” and “89ARTSHIRT.” It is our understanding that your
client completes orders and/or distributes products on their behalf. Please note that even
after being dismissed from the case, this PayPal account will remain held as to those two
stores.

After speaking with our client, they would be willing to settle this matter in its entirety,
dismissing Viral Style from the present lawsuit, and avoiding the need for a second, if your
client agrees to remove any and all infringing products from their online e-commerce store,
as well as paying to the Plaintiff a settlement amount of $35,000.

Please take this offer back to your client, and advise us as to how you would like to proceed.

Thank you,
Ann Marie

Ann Marie Sullivan, Esq.
Case 8:21-cv-00439-SDM-TGW Document 1-6 Filed 02/24/21 Page 9 of 12 PagelD 108

Intellectual Property Attorney ey
+1513 543 2239 | : i

 

AM SvuLiivan Law, LLC

 

From: William Brees <wbhrees@maxeyfisher,.com>
Sent: Tuesday, September 29, 2020 5:15 PM

To: AM Sullivan Law, LLC <attor al
<ams@amsullivanlaw.com>

Ce: Brittany Maxey-Fisher <bmaxeyfisher@maxeyfisher.com>; lpg @maxeylisher.com; filecopy
<filecopy@maxeyfisher.com>; Haviland Kebler <hkebler@maxeyfisher.com>

Subject: Re: Iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal
Disruption to Viral Style L.L.C. - Our Reference No. 456044

n>; Ann Marie Sullivan

 

Hello Ms. Carter,

Thank you for your response. Please let me know if you need any additional information.
Best Regards,

Bill

William R. Brees

Senior Intellectual Property Attorney
wbrees@maxeyfisher.com

id

—

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From: AM Sullivan Law, LLC <altorney@amsullivanlaw.com>
Case 8:21-cv-00439-SDM-TGW Document 1-6 Filed 02/24/21 Page 10 of 12 PagelD 109

Sent: Tuesday, September 29, 2020 6:11 PM

To: William Brees <wbrees@maxeyfisher.com>; Ann Marie Sullivan <ams@amsullivaniaw.com>
Cc: Brittany Maxey-Fisher <bmaxeyfisher@maxeyfisher.com>; lpg@maxeyfisher,com
<lpg@maxeyfisher. com>; filecopy <filecopv@maxeyfisher com>; Haviland Kebler

<hkebler@ maxeyfisher.com>

Subject: RE: iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal
Disruption to Viral Style L.L.C. - Our Reference No. 456044

Hi Bill,
We are looking into this.

Given the information you provided, you are likely correct that the inclusion was in error; however, give
me the next day to review this further. I'll get back to you by end of business tomorrow.

Please keep in mind that if your client is currently still infringing the Iron Maiden trademarks and
copyrights, and/or if they have infringed since the 2018 takedown request, they are still liable for violating
our client’s intellectual property rights, just, perhaps, not in this current case.

I'll get back to you shortly.

Best,
Alison

Alison K. Carter, Esq.
Intellectual Property Attorney

AM Suiiivan Law, LLC
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1440 W. Taylor St. #515
Chicago, Illinois 60607

 

From: William Brees < pes @maxevtisher.com>
Sent: Tuesday, September 29, 2020 4:24 PM
To: ams@armsullivaniaw.com <IMCEAAIL

 

. nerdi4:orad out! >
Cc: AM Sullivan Law, LLC <attorney@amsullivanlaw.com>; orion Maxey-Fisher
<bmaxeyfisher@maxevfisher.com>; log@maxeyfisher.com; filecopy <filecopy@maxeyfisher.com>;
Haviland Kebler <hkebler@maxeyfisher. com>

Subject: Iron Maiden Holdings Ltd v. the Partnerships et al. - Case No. 120CV05251 - Paypal
Disruption to Viral Style L.L.C. - Our Reference No. 456044

Good Afternoon Ms. Sullivan,

| left you a voicemail earlier today, but | wanted to follow up with an email to make sure you
have my contact information.

Our client, Viral Style L.L.C., a Florida Limited Liability Company, ("Viral Style") received
communication from Paypal that its account has been restricted so that funds cannot be
Case 8:21-cv-00439-SDM-TGW Document 1-6 Filed 02/24/21 Page 11 of 12 PagelD 110

removed or transferred based upon an Order in Case No. 120CV05251, titled Iron Maiden
Holdings Ltd v. the Partnerships et al. A copy of the communication is attached to this
email.

We believe that the inclusion of Viral Style in whatever order was entered in this case must
have been in error after reading the publicly available version of the Complaint in this case
for at least the following reasons: 1) Our client is a U.S. business that has been in operation
at the same website, in the geographic location of Tampa, Florida, and utilizing the same
Paypal account since at least 2014; 2) Its business model does not involve importation of
products from overseas, with all of the goods ordered through its websites being printed
and shipped from within the United States; and 3) Viral Style also does not sell on online
marketplaces such as Amazon, eBay, or AliExpress. Based on our understanding of the
Complaint and the reasoning expressed as forming the basis for the Request for a
Temporary Restraining Order, Viral Style does not fit within the category of companies
sought to be included as Defendants.

Our clients have confirmed that the last communication they received from Iron Maiden
Holdings Ltd was in 2018 regarding an Intellectual Property complaint pursuant to its
intellectual property complaint policy, that was quickly addressed and closed.

| would appreciate if you would please give me a call regarding this matter so that we can
address it as quickly as possible.

Best Regards,
Bill
William R. Brees

Senior Intellectual Property Attorney
wbrees@maxeyfisher.com

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